
Whitaker, Judge,
delivered the opinion of the court:
Plaintiff sues for the annuity to which he claims he is entitled under section 6 of the Civil Service Retirement Act in ■effect on September 2, 1947.1 Section 6 provides:
Any employee to whom this Act applies who shall have served for a total period of not less than five years, and who * * * becomes totally disabled for useful and efficient service * * * shall * * * be retired on an annuity computed in accordance with the provisions of section 4 hereof. * * *
The question presented is whether or not plaintiff served five years.
The method of computation of length of service is set out in section 5 of the Act, but before quoting this we shall briefly state the facts so that the applicable provisions of section 5 will be apparent.
*7Plaintiff was inducted into the military service on June 3, 1942. Prior to that time he had been a classified employee in the civil service of the United States, serving both in the Post Office Department and the Treasury Department, Bureau of Internal Bevenue. At the time of his induction he had served in the civil service for a period of 4 years 11 months and 9 days, but, in addition, he was entitled to annual leave of 57 days, for which he was entitled to compensation under the Act of August 1, 1941, 55 Stat. 616, although at the same time he was entitled to pay for his military service. His annual leave expired on July 30,1942. At the time of the expiration of his annual leave, if that is to be counted, he had served more than five years.
After the expiration of plaintiff’s leave on July 30, 1942, he was carried on the rolls of the Bureau of Internal Bevenue in a furlough status, and was continued in such status through September 30, 1947.
During his military service he received an injury to his spine which permanently incapacitated him. This injury was incurred in line of duty. He was discharged from the Army on November 1, 1947, for physical disability.
As above stated, the question in this case is whether or not plaintiff has had five years’ civil service as computed under section 5 of the Civil Service Betirement Act of May 29, 1930, as amended. If so, he is entitled to an annuity under section 6 of the Act.
Section 5 says that in computing “the aggregate period of service which forms the basis for calculating, the amount of any benefit provided in this Act,” we shall start with “the date of original employment” and we shall include “periods of honorable service in the Army, Navy, Marine Corps, or Coast Guard of the United States”; but it says that in the case of an employee who “receives retired pay on account of military or naval service, the period of service upon which such retired pay is based shall not be included.”
These are the clauses relied on by the plaintiff. Under them we think plaintiff has had the requisite five years. We think so for this reason: As stated, before his induction into the Army plaintiff had had, 4 years 11 months and 9 days of' civil service,'and, if we add the 57 days of his accrued leave, *8be has had more than five years, and this we think should be done.
Section 5 of the Act entitles him to include “periods of honorable service in the Army, Navy, Marine Corps, or Coast Guard of the United States.” This is followed by the restriction that if he receives retired pay on account of his military service “the period of service upon which such retired pay is based shall not be included.” Since plaintiff was retired from the military service for physical disability, his retired pay from that service is not based on the length of his service, except in this particular: plaintiff’s retired pay is based not only on his base pay, but also on the 5 per cent additional pay to which he is entitled under the Pay Adjustment Act of 1942, 56 Stat. 359, for every three years of service.
Under section 5 of the Civil Service Act of May 29, 1930, as amended, therefore, we must exclude three years of plaintiff’s military service, because his retired pay is based in part on the fact that he had served three years; but plaintiff served, in addition to these three years, two more years and four months and twenty-nine days. This greatly exceeds the 57 days which he wishes to include in his civil service. We find'nothing in the Act that prevents him from including at least this 57 days, if not, indeed, the full 2 years 4 months and 29 days, since his retired pay for military service does not take into consideration this 57 days, nor the 2 years 4 months and 29 days. The provision excluding military service upon which retired pay is based, is the only applicable provision limiting his right to include “periods of honorable service in the Army.”
This decision is in accord with our former decision in Prentiss v. United States, 123 C. Cls. 225. In that case we held that under an almost identical statute General Prentiss was entitled under the Retirement Act of 1920 to add to his civil service that portion of his military service which it was not necessary to take into account in computing his retired military pay.
It may be noted in passing that the proviso added by the Act of February 28,1948, ch. 84, sec. 5 (62 Stat. 48, 50) was not in effect during the period with which we are concerned in this case. This proviso reads:
*9Provided, That an officer or employee must have served for a total period of not less than five years exclusive of such military or naval service before he shall be eligible for annuity under this Act. * * *
Of this proviso the Senate Report (Sen. Rep. 888, 80th Cong. 2dSess.) says:
Section 5. This section requires that 5 years of civilian service be rendered before any employee may have title to annuity, rather than, a combination of civilian and military service as provided in the present law. * * * [Italics ours.]
Thus the Committee was of the opinion that under the law prior to the enactment of the proviso an employee was entitled to take into account his military service in computing the length of his civil service. We do not mean by this to intimate that plaintiff would not be entitled to recover had this proviso been in effect. He probably would have been entitled to add the 57 days of leave to the period of his active service, notwithstanding the proviso; but this we do not decide.
Furthermore: In the second paragraph of section 5 of the Civil Service Retirement Act of May 29, 1930, as amended, it is provided:
In computing length of service for the purposes of this Act, all periods of separation from the service, and so much of any leaves of absence as may exceed six months in the aggregate in any calendar year, shall be excluded, except leaves of absence granted employees while performing active military or naval service in the Army, Navy, Marine Corps, or Coast Guard of the United States * * *. [Italics ours.]
Under this paragraph we are not to exclude the leave of absence granted for military service in computing the “length of [his] service for the purposes of this Act.”
Then in the third paragraph it is provided that:
No officer or employee to whom this Act applies who during the period of any war * * * has left or leaves his position to enter the armed forces of the United States shall be considered as separated from such position for the purposes of this Act by reason of his service with the armed forces of the United States. * * *
*10We are told by these two paragraphs that in computing length of service we shall exclude leaves of absence, except leaves of absence for service in the United States Army, and further that an officer serving in the United States Army shall not “be considered as separated from such position for the purposes of this Act.” These paragraphs specifically say that a civil employee shall not be considered as having been separated from his position by reason of his service in the Army, and, by implication, at least, that in computing the length of his civil service he shall not exclude any leave of absence granted for sendee in the armed forces.
We, therefore, see no escape from the position that plaintiff is entitled to include his 57 days of leave, to which he was entitled and for which he has been paid, in computing his length of service. Notwithstanding his military service during these 57 days, plaintiff is considered to have been on active duty in the Bureau of Internal Revenue, and he was paid for this service; hence, it seems necessarily to follow that he is entitled to count this 57 days in computing the length of his civil service.
In Hironimus v. Durant, 168 F. 2d 288, defendant was court-martialed for an offense committed while on terminal leave from the Army. Her defense was that she was not in the Army when the offense was committed, and, therefore, not subject to court-martial. However, the court held that she was still a member of the Army until her terminal leave had expired, and that, indeed, she was on active duty during the period of her terminal leave, and, therefore, that she was subject to military jurisdiction.
So it is here. Even though plaintiff was not engaged on duties with the Bureau of Internal Revenue during his 57 days’ accrued annual leave, except for three days, he, nevertheless, was considered as being on active duty with that Bureau and was paid therefor. It necessarily follows, we think, that he is entitled to include this 57 days in computing his length of service as a civilian employee.
The parties have stipulated that the amount of the recovery to which plaintiff is entitled shall be computed by the General Accounting Office, without prejudice to the right of the parties to controvert the accuracy thereof. The entry *11of judgment, therefore, will be suspended until the incoming of a stipulation from the parties showing the amount due in accordance with this opinion, or, in the absence thereof, until the incoming of a report from a Commissioner showing the amount due.
It is so ordered.
MaddeN,. Judge; Littleton, Judge; and Jones, Chief Judge, concur.
FINDINGS OF FACT
The court, having considered the evidence, the report of Commissioner Noald A. Hogenson, and the briefs and argument of counsel, makes findings of fact as follows:
1. Plaintiff is a citizen of the United States of America and a resident of the State of California.
2. On January 18, 1987, plaintiff was originally employed as a classified employee in the Civil Service of the United States. He served in such capacity, in the Post Office Department, from that date until his resignation, on account of illness, on February 9,1931.
3. Plaintiff was reemployed in the Civil Service of the United States on July 16,1937, on which date he commenced a period of service in the Treasury Department, Bureau of Internal Eevenue. He remained in such employment until inducted into the armed forces as hereinafter set forth.
4. On June 3, 1942, plaintiff was inducted into the Army of the United States as a Private. On that date he had to his credit a total of 57 days accrued annual leave as a civilian employee of the United States.
5. During the 57-day period, June 3 to July 30,1942, plaintiff was compensated for his annual leave by regular Treasury Department payroll payments, and was not paid in a lump sum for his annual leave accumulation.
6. On or about June 7 or 8,1942, the plaintiff was granted a 15-day furlough by the Army, and he returned to Indianapolis, Indiana. During this leave, he worked for three days at the local Internal Eevenue office, where he had been employed prior to his induction into the Army. He wrote reports of tax investigations previously made by him, and returned to the Assistant Agent in Charge various books *12and data in bis possession in connection with bis duties. He returned to Fort Benjamin Harrison at tbe expiration of his 15-day leave.
7. Plaintiff was placed on military furlough status on the rolls of the Bureau of Internal Revenue on August 1,1942, and continued in such status through September BO, 1947.
8. On June 3,1942, plaintiff had creditable civilian Federal service for the purpose of computing his period of service under sections 5 and 6 of the Civil Service Retirement Act of May 29, 1930 (46 Stat. 468), as amended, of 4 years 11 months and 9 days. If, in addition to this acknowledged creditable civilian Federal service, plaintiff had also been credited with the 57 days from June 3,1942 to July 30,1942, he would then have had the necessary period of five years to qualify under the act.
9. Plaintiff served as an enlisted man in the Army of the United States from June 3, 1942 until January 19, 1943, on which date he was discharged. On January 20, 1943, he was appointed a 2d Lieutenant in the Army of the United States and was called to active duty on that same day.
10. Plaintiff served on active duty as a commissioned officer in the Army of the United States from January 20,1943 until November 1, 1947, on which date he was retired from active duty by reason of physical disability.
11. Since November 1, 1947, plaintiff has received retirement pay under section 5 of the Act of April 3, 1939, 10 U. S. C. 456, on account of permanent disability incurred in line of duty. Effective January 1, 1951, plaintiff commenced to receive part of such compensation as disability compensation paid by the Veterans Administration pursuant to Public Law 314, 78th Congress, 2d session.
12. On September 2, 1947, plaintiff submitted an application to the United States Civil Service Commission for disability retirement under the terms of section 6 of the Civil Service Retirement Act. Plaintiff’s application for annuity on account of disability under the Civil Service Retirement Act was medically approved by the Commission’s Medical Division on September 22,1947.
13. By letter dated November 5, 1947, Warren B. Irons, Chief, Retirement Division, United States Civil Service Commission, advised plaintiff as follows:
*13Reference is made to your application for annuity-under section 6 of the Act of May 29, 1930, as amended, on account of total disability for useful and efficient service.
The Act of January 24,1942, amending the Civil Service Retirement Act of May 29, 1930, liberalizes the retirement law by vesting title to annuity in an officer or employee who is departed after having rendered a mini-' mum of five years of service.
From the certified record of the Treasury Department, it is shown that you received an appointment in the Post Office Department, Chicago, Illinois, on January 18, 1937, and resigned on February 9, 1937. On July 16, 1937, you were appointed in the Treasury Department, Internal Revenue, Baltimore, Maryland; ana on September 27, 1937, you were transferred to Chicago, Illinois, where you were separated September 30, 1937.-[sic]
From an official report from the Adjutant General’s Office, War Department, it is shown you enlisted January 3,1942, [sic] and were relieved from active duty on November 1,1947, on account of physical disability.
However, your civil service can only be counted up to June 2, 1942, inclusive, with a total service of four years eleven months-and nine days of creditable civil service.
Inasmuch as you have not rendered the required five years of service, the Commission finds it necessary to reject your claim for disability.
It is regretted that more favorable action cannot be taken on your claim.
14. Plaintiff appealed the disallowance of his claim to the Civil Service Board of Appeals- and Review and to the Civil Service Commission, both of which approved the decision denying the plaintiff’s claim.
CONCLtTSION OF LAW
Upon the foregoing findings of fact, which are made a part of the judgment herein, the court concludes that as a matter of law the plaintiff is entitled to recover.
The entry of judgment is suspended pending the incoming of a stipulation from the parties showing the amount due in accordance with this opinion, or, in the absence thereof, until the incoming of a report from a commissioner showing the amount due.

 The Civil Service Retirement Act was completely revised by the Act of May 29, 1930, 46 Stat. 468. Section 5 thereof, which is pertinent to our inquiry, was amended by the Act of October 14, 1940, '54 Stat. 1116; the Act ■of November 9, 1945, 59 Stat. 577; and the Act of December 21, 1945, 59 Stat. 621.

